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]N THE UNITED STATES DISTRICT COUR;[`
FORTHEDISTRICT OF KANSAS ' "-J i :- ;,=J-
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VS.

C.I'r"f' OF wm l(.+T-;q.
Name

 

CaSB Number_O:lM 510 L/éybg

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mem-h kz 9720'1'
City State Zip Code

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(Enterabovedlefullnameandaddressofd:\e
Defmdantind:is action- listthe name and address
of any additional defendants on the back side of
this sheet).

CIV]L COWLAH\IT PURSUANT TO
TITLE VII OF THE
CIV'lL RIGHTS ACT OF 1964
or
29 U.S.C. § 621-634(b)

(Age Discrimination in Employment Act)

or
42 U.S.C. § 12111 et seq.
(America.ns With Disabilities Act)

Markthe statute thatyouare 51ng this complaintde
Title VI{ of the Civil Righs Act of 1964.
29 U.S.c. § 621~634 (b) (Age Discrimjnation in Employmm A¢.':)':

z 42 U.S.C. § 12111 et seq. (Americans With Disabilities Act)

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1. Pieiniis"reeidesee men w. u%”$-reez»¢e_, AP¢- *?l$'

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2. Defendant employer(s) reside or can be served with process at the addresses set forth

in the caption above
3. This Action is brought for employment discrimination pursuant to one or both of the

following laws:

a. g Title VII of the Civil Rights Act of 1964 for employment discrimination

b. Age Discrimination in Employment Act of 1967, codiiied at 29 U.S.C.
§ 621 -634(b), as amended, for employment discrimination based on
age;

c. t Arneiicans With Disabi]ities Act, codified at 42 U.S.C. § 12111 et

seq., for employment discrimination based on disability
Jurisdiction is conferred on this court pursuant to 29 U.S.C. § 626(c)(1), 42 U.S.C. § 2000e-5, or 42
U.S.C. § 12117. lft`he plaintiff is a federal employee, jurisdiction is conferred on this court pursuant to
29 U.S.C. § 633a(c).
4. Venue is invoked pursuant to 28 U.S.C. § 1391.

5. Defendant’s conduct is discriminatory with respect to the following:

 

 

 

a. ____ My race or color, which is

b. _ My religion, which is

c. __ My sex, which is ___ male; ______ female
d. _ My national origin., which is

e. ____ My age, in violation of 29 U.S.C. § 623.

f x My disability er perceived disebiiiiy, which is k 1-€11\"“5‘~1`*5"'s . "‘“'~"
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g Other as Spccifled below:
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6. The plaintiff is an employee 1'ivitjl:iin the meaning of the above-cited stamtes.
7. Ifthisisanage discnmniationcase,dleplaintiii`statestliefohoudng:
a. Plainti&`is within the age limits as prescribed by 29 U.S.C. § 631(a).
b. My ageatthetime ofthe allegeddiscliminatoiyconchictwas

c. My year ofbirth is

 

8. The defendant(s) is (are) an employed employment agency, or labor organization within
the meaning of 28 U.S.C. § 1343 and 29 U.S. C § 630(b)(c) and (d).

9. 'Ihe defendant(s) is (are) engaged in commerce within the meaning of the above-cited
Statlltcs.

10. The conduct complained of in this action concetn:
a. _L Failure to employ
b. _ Temiination of employment
c. _ Failure to promote

d 23 Unequal terms and conditions of employment

g. § Failure to accommodate disability
h. § Other acts as specified below‘.

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11. 'Ihefactssmrotmdingmyc]aimofdiscriminationare:

{SEZ WHE” Pl-me¢»<¢c)

 

 

 

(If more space is needed you may attach additional sheets of 81/2” X ll" paper.)

12. Tlie alleged discriminatory eeeduei deemed en er about Oc+oBe¢, 23, we

at C.rr'/ ¢h~u, qs'$ N. Mh~l`i» l w+¢lra'r~, ye.¢rz:l

 

13. lnacoordancewith42U...SC §2000¢-5, 29U_,,...SC§626(d)and29USC §
633(`b), or42U...SC § 1211'1' morethansixty (60) days have elapsed sincelili`nga
chmgeaHegmgumawhddiscnmmadonuimmeKmsasSmteDivisionomenanRighm,
theKansasCommission on Hunian Rigbts ortthqualEmploymentOppornmity
Commission.

14. In accordance with 28 U.S.C. § 1343 or 29 U.S.C. § 633a(d), of this is an Age
Discrimination action, a thirty (30) day Noticc of lntent to File this action has been
given to the Equal Employment Opportnnity Commission.

15. 1 filed charges with the Kansas State Division of Hurnan Rights or the Kansas State
Comrnission on Human Rights regarding the alleged discriminatory act on
MA’¢-(.(\"' levi 360 'r .

16. lhledchargeswith the EqualErnploynient Opportimity Comrnissionregardingtbe
alleged discriminatory act on FEIS¢‘M¢»{ 37 w?

17. l filed a Notice of lntient with the Bqual Employment Opportnnity Cornmission on
114 utu 1'* Zw'r

 

18. The Equal Employnient Oppoitunity Cotnmission issued a Notioe of Right to Sue letter
(copy attached) which was received by me on or about H M.cl+ 9”¢ 200 _'f

19. Ifrc]iefis not granted, plaintiii`wi]l be irreparably denied the rights secured by the Age
Discriniination in Employment Aet of 1967, as amended, by Title VII of the 1964 Civil
Rights Act, as amended, or by the Ameiicans With Disabi]ity Act_

20. Plaintiff demands trial by july. Yes_jx_ No _

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staEFoRs, plaintiff pays diet

a. The court grant the relief stated in 42 U.S.C. § 2000e-5, 29 U.S.C. § 633a(c),
or 42 U.S.C. § 12117, including damages in the amount of

$ 3,§00¢000.” .

b. Thecourtgrantsuchodierlegalorequitablereliefasthecomtdeemsjustand
proper, including attorney’s fees and oosts.

Signatime of Piaintiff

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Name (Print or Type)

lived w. nev r&me€, AZF/, l arc
Address

Uvmz..m FMJ¢, M. _ 00 z/¢)
city state zip code

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TelephoneNumber

DESQHAIIQNQE_RLAQE.QEIBLAL

Plaintiti` designates MW, Kansas as the location for the
one ocation)

trial in this matter.

Signature of Plaintilf

BEQDE§'LF_QR_TBIALEY_H.IBY
Plaintiil` requests trial by jury .
(circle one)

Signatlne ofPlaintiil`
Dated:
(Rev. 9/04)

 

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HISTORY, BACKGROUND AND PREVIOUS FACTS

ll. 'Ilre facts surrounding my claim of discrimination are:

My name is Mitchell Lee Woods, white male, 48 years old. 1 was living at 505 N.
Rock Road Apt. # 854, Wichita, Kansas 67207, at the time of the alleged discrimination
l am a “Kleinfelter’s Male”, which is a protected “Genet;ic Disability”, under the Federal

ADA Laws, the (Anrericans with Disabilities act of 1990, 42 U.S.C. 12102 et seq.}

I first became aware of my disability, when it was continued that l indeed was a
“Kleinfelter’s Male”, in late August 1990. A Physician, giving rne an End of Tour of
Service physical, told me that I had the “charaitrics or make up of a “Kleint`elter’s Male”.
He drew blood and sent it to the University of Colorado Hea]th Sciences Cerrter. The test
was completed on January 10“‘, 1990. I received a copy of the test results in the mail in
late August 1990. The Cystrogenetics Repor't and the Interpretation was: “all metaphases
examined had had an additional (X) chromosome.”) (Exibit 1) (47 XXY Male
Karyotype), thus making me a “Kleinfelter’s Male.” My Dad, a General Physician M.D.,
pointed out to me he knew only a few things about “Kleinfelter’s”. He said that approx.
98% of all “Kleinfelter’s Males” are born “sterile males”. He also told me that 1 in 500
males born, are born “Kleint`elter’s Males.” lt just happens, for unknown reasons There

are “no cures” for it.

 

 

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l was training to become a Wichita Police Ofiicer, with the City of Wichita, Kansas.
I had just been through a divorce, and also going to National Guard Drill one weekend a
month Not knowing whether I was the father of my ex-wife’s child, l was experiencing
what I thought was a lot of depression. I went to Dr. Kaye Swizter M.D. Psychologist.
She started me on taking an ami-depressant for depression I also advised her that l was a
“Kleinfelter’s Male”. l told all of my Wichita Police Department Supervisors, that l was
taking an and-depressant for depression No supervisor ever questioned me about the
depression They all told me, as long as I could do the job, that was all they were
interested in. l have had several Physicians and Councilors in the past (17) seventeen
years, since discovering I was a “Kleinfclter’$ Male”. Dr. David R. Bowman, Ph.D.,
Licensed Psychologist and Wichita Police Councilor in 1999, said counseling Was
helping with my “cornrnunication skills” with others who perceived me of being
“irritable, sensitivity to criticism, occasional angry outbursts and difficulty with
communicating with co-workers.” (Exibit 2) l had told Dr. Bowmari, that I was a

“Kieinfelter’s Male.”

Being a “Kleinfelter‘s Male”, and knowing only a few particular conditions of
“Kleinfelter’s”, I couldn’t understand why people were saying these things about me.

This is the way I had felt all my life and it was “normal behavior for me”.

 

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In January 2002, I asked my primary care physician, Dr. Kevin Hoppock M.D. to send
Ine to an Endocrinologist, to see about getting “Testosterone Replacements”, in hopes of
helping my “depression, mood and communication skills”. l saw Dr. J an Hoffman M.D.

and was tested and sent back to Dr. Hoppock for the results. (Exibit 2)

Dr. Hoppock told me that my “testosterone” was “G()OD" and he didn’t feel anything
could done to help with my “Genetic Kleinfelter’s.” Dr. Hoppock, also told me that the
“testosterone replacements”, don’t always work and it is very hard to predict the outcome
of such treatments, from individual to individual The treatment is very expensive and in
most cases not covered by Health Insurance Policy’s. Having a “good” Doctor/Patient
relationship with Dr. Hoppock, l took his opinion and word for granted and believed no
further testing could be done, for my “Kleinfelter’s”, disability In November 2004, I
received a ii'ee computer, my first ever, and started to very slowly to use it more. It
wasn’t until early July 2006, that I had finely learned about “Kleinfelter’s” and the

conditions or traits is causes an individual to experience in everyday living of life.

The following are conditions and traits, that l have experienced in the past and still
experience in my day to day iiving, today: (1) I have always had problem with learning,
as I have difficulty reading, and reading for long periods of time. I’m a slow reader. I
don’t usually comprehend or retain the subject matter, without reading it over, and over.
(2) My Math skills are very limited to adding, subtracting, dividing, multiplying and a
few fractions. I don’t understand it. (3) I have poor long time memory skills. (Exibit 3),
(Exibit 4), (Exibit 5), (Exibit 6). (4) I have poor eating habits and have a loss of
appetite for periods at a time. (5) I constantly tight off depression with the help of an

anti»depressant medication (6) I have “mood swings” on a weekly basis that come on

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unexpectedly and leave the same way. (7) l have been known to have poor
communications skills and can’t pretend to be someone l’m not. I have to work with the
communication skills I was “Genetically born with”. (8) l’m unable to maintain a good
relationships with friends and with potential women partners, due to my “mood swings”,
“lack of communication skills”, and “poor sexual drive and functions.” (9) l continue to
gain weight and it affects my overall I-lealth and self-esteem. (10) I always have had
“poor sleeping habits”. When l get home from work, l will sleep all day, until it is time
to get up and go back to work. l have no motivation to even get up and go to scheduled
appointments eat lunch or leave my apartment Some days, I can’t get to sleep and am

up for 24-36 hours. I feel really tired most of the time.

ln order to prove “Discrimination” under ADA Laws, I must prove that l can do the
work that I’m applying for. l have (14) fourteen years of Annual Evaluations from the
Wichita Police Department, listing all major duties and responsibilities performed as an
employee/Police Offlcer. See the following Exibit’s: (Exibit 7), (Exibit 8), (Exibit 9),
(Exibit 10), (Exibit 11), (Exibit 12), (Exibit 13), (Exibit 14), (Exibit 15), (Exibit 16),
(Exibit 17), (Exibit 18), (Exibit 19), (Exibit 20). The issues of “poor communication
skills” and “poor interpersonal communication skills” and “poor working relationships
with employees”, might have been a reason for “tennination”, but never occurred as my
Supervisors knew l was fulfilling all of my responsibilities as an “employee and a Good
Wichita Police Officer.” ln fact, I had only been Suspended without pay, (4) four days in
the past (15) fifteen years, (1990-2005), for Violation of Regulation 3.302 (B}-“Each
member of the Department shall be courteous and considerate in treating all persons with

dignity and respect while exercising good judgment in all situations.” (Exibit 21)

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Ofiicer Mitchell Woods # 1482, Pre-Termination Hearing, September 7‘1’, 2005.

Minutes of the meeting (Exibit 25)

()fi'icer Mitchell Woods # 1482, Termination Hearing, September 13'h, 2005. Minutes

of the meeting (Exibit 26)

1 was renewed on september 13““, 2005, for “rhe inability to perform the run

responsibilities as a Police OHicer”. (Exihit 22) There was nothing in the “Termination

Letter”, indicating the TERMINATION was for anything else but, “on the job injuries”,

only!

(l)

(2)

'I`HE BODY OF MY COMPLAINT:

I, Mitchell L Woods applied or re- applied for my previous Full-time Police
Ofiicers position and had met all of the requirements that the City of
Wichita, Wichita Police Department, and Human Resources required from
me when doing so, “verbally” on or around August 30"‘, 2006. The City of

Wichita is an “Equal Opportunity Employer.”

l was informed over the phone by Lt. Dennis Wilson of the Wichita Police
Deparnnent Training Academy, that the Chief of Police had given him (30)
thirty day to gather information and do a back ground investigation on me.
(Exibit 27) I was told by Lt. Wilson, that no additional paperwork Would
have to be completed, except the Chief wanted a letter nom me, telling him

what I have been doing for the past year. (September 2005 to August 2006)

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(4)

(5)

(6)

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Just to make sure, I asked Lt. Wilson again, if there was any additional
paperwork to be completed and he said “NO”. The letter was sent to the

Chief of Police, Norman D. Williams. (Exibit 28)

I was applying or re-applying for a job as a Wichita Police Officer, a
position that I had held from July 1990 to September 2005. I was not
working anywhere, nor was l working for the City of Wichita, when I

applied for my previous position, as a Wichita Police 0fl`1cer.

The City of Wichita, Human Resources, and the Wichita Police Departrnent
has a policy that, if a employee of the City leaves or is terminated on “good
standing or grounds”, he or she can apply or re-apply for their previous
position, without having to go through all of the “new hire or application”
process, as long as it is done within a years date of termination The process
is done by the ex-employee’s Department in which they worked In my case

the Chief of Police and Wichita Police Department.

All my obligations had been met at this time and the next step was
scheduling a “Command Stafl` Interview”, at the City Building, 455 N. Main,
4“‘, Floor, Chief's Conference Room. It was scheduled for October 23'd,

2006, at approx. 4:00 PM.

The “commood staff totorviow” on october 23“‘, 2006, ooosistod or the
following people: Chief of Police, Norman D. Williams, Deputy Chief Terri
S. Moses, Captain Darren Moore, Lt. Dennis Wilson, and myself, Mitchell

L. Woods. ( All decision of employment or termination are approved or

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(7)

disapproved by the City Manager, George R Kolb) Since no additional
paperwork was required by me prior to this interview, l voluntarily produced
my Medical Documentation (Exibit 1) & (Exibit 2A), proving without a
doubt I was a “Kleinfelter’s Male” or indeed had “Kleinfelter’s”. l told or
advised the Stafi`, that “Kleinfelter’s” is a protected disability, under the
ADA (Americans with Disabilities Act of 1990) l advised the Staff, that
counseling has assisted me in dealing with some of my problems (Exibit 2)
I asked the StaH`, if the Wichita Police Department would work with me, l
believe accommodations could be made for me to continue to be a “very
productive Police OHicer in the future”. Deputy Chief Moses told me in a
“moderately stern voice” the Staff is going to require you to seek additional
“Medical Treatment” for my “Kleinfelter’s” and provide the Staff with all of
the results, prior to even being considered for employment as a Wichita
Police Oi’iicer. This is a violation of (42 U.S.C. Section 12112(d) of the
ADA), (ExaminationfMedical Examinations.) and (42 U.S.C. Section 12112
(a)) Title I of the Americans with Disabilities Act of 1990. This is also a
violation of the Equal Opportunity Employment, which the City of Wichita

is required to follow by Law.

During, or around the iirst week in November 2006, Captain Darren
Moore, Lt. Dennis Wilson and I (Mitchell L. Woods) had a meeting
arranged by Lt. Wilson, to discuss the “Command Staff Interview”, findings
Captain Moore restated that in order for me to be re-employed as a Wichita

Police Offlcer, I would have to follow the recommendation that were agreed

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(3)

(9)

upon by Deputy Chief Moses and the rest of the Staff, during the “Command

starr lororviow’, october 23“', 2006.

During the meeting in the first week of November 2006 with Captain Moore
and Lt. Wilson, Captain Moore said to me, “Mitch, you and Deputy Chief
Moses must have some history. ” l told both of them that, Deputy Chief
Moses has accused me in the past of “hating Women”. She has also been an
active member in most of my counseling or discipline that I’ve received. l
filed an EEOC Complaint against her with the City of Wichita’s EEO
Oflicer, Susan Leiker on August 24Eh, 2005. l’m still waiting to hear an
outcome on that complaint l would assume it’s still open. (Exibit 29) l
filed a (28) twenty-eight page Professional Standards Complaint (Exibit 30),
against Deputy Chief Moses, alleging numerous Wichita Police Department
Policy & Procedure and Rules & Regulations Violations, and possibly a
Conspisiry, involving a City Attorney and a FMLA Specialist With Human
Resources, denying my rights under the Family Medical Leave Act. The
Professional Standards Supervisor, called me at home in October 2005 and
told me he was not going to investigate my complaint (Exibit 31) In 1999,
Deputy Chief Moses told me she was going to make a “project” out of me.
lf l slipped up, l’d be gone. I strongly believe the Deputy Chief Terri S.
Moses has “made a project out of me.” I also believe that Deputy Chief
Terri Moses is in Violation of (Retaliation under the ADA Laws), for filing

an EEOC complaint against her along with all the other related incidents

I, Mitchell Lee Woods, the Plaintiff in this case requests a Trial by Jury.

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LEGAL BASIS

Kleinf`elter’s is a protected “Genetic Disability”, under the Federal (Americans with

Disabilities Act of 1990, 42 U.S.C. 12102 et seq).

Medical Exarninations are prohibited under 42 U.S.C. 12112 (d) of the ADA and
prohibits employers from requiring applicants or employees h'om taking medical

examinations at certain periods of the employment process.

The ADA specifically states it is unlawful for an employer to “retaliate” against an
employee based upon the employee’s filing a charge of “discrimination”, with the

EEOC. (42 U.S.C. 12203 et seq.) and the Civil Rights Act of 1991 (CRA)

COURT JURISDICTION

Since all of the above are U.S.C. statues, l believe that this Civil Suit should be filed

in U.S. District Court, in Kansas City, Kansas

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RELIEF

I believe l’m entitled to a reasonable amount of “relief”, for the following reasons: This
ordeal has cost me dearly, not only in affecting my over-all health, but also professionally
and placed me in a “SEVERE FINANCIAL HARDSHIP”, which is irreparablel The
“intentional retaliation”, “intentional discrimination” and the “Medical Examinations”
violation(s) have affected me in the following ways: I have suffered extreme emotional
distress l have suffered from increased depression l have had to move to an area, where
the cost of living is more expensive l have experienced a very large loss in income and
future retirement and benefits l have had a loss of employment opportunities which may
have paid more money. I have had only (1) one job offer since August OZ“d, 2006. I’ve
had to settle for a job that pays less than half of what I was making as a Wichita Police
Officer. l believe a “reasonable”, compensation and punitive damages would be in the

range of, ($ 3, 800,000.00) dollars.

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§ shoe witt 161 cargo U.S. EQUAL EMPLOYMENT OPPORTUN|TY COMM|SSION
DlsMissAL AND NoncE oF Rioi-rrs

TO! Mitchell L. Woods Frorn: Kansas City Area Off"lce - 563

11760 W. 11 Bth Terr. Apt #215 Gataway Tower ll

Over|and Park, KS 66210 400 State Avenue

Kansas City, KS 66101
E On behalf of persoh(s) aggrieved whose identity is
CONFIDENT!AL (29 CFR 51601. 7(8)) ___
EEOC Charge No. EEOC Representative Telephone No.
Manue| A. Mar'tinez, Jr.,

563-2007-00743 investigator (913) 551 -6644

 

THE EEOC lS CLOS|NG lTS FlLE ON THlS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act_
The Respondent employs less than the required number of employees or ls not otherwise covered by the statutes

Your charge was not timely filed with EEOC; in other wordsl you waited too long after the date(s) of the alleged discrimination to file your
charge

Having been given 30 days in which to respond, you failed to provide information, failed to appear or be avallable for
interviewsioonferences. or otherwise failed to cooperate to the extent that it was not possible to resolve your charge.

Whlie reasonable efforts were made to locate you. we were not able to do so.
\’ou were given 30 days to accept a reasonable settlement offer that affords full relief for the hahn you allegedl

The EEOC issues the following determination: Based upon its investigation the EEOC is unable to conclude that the lnfom'lation obtained
establishes violations of the statutes This does not certify that the respondent ls in compliance with the statutes No finding is made as to
any other issues that might be construed as havan been raised by this charge

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

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Other (bn'eliy state)
- NOT|CE OF SU|T RIGHTS -

(See the additional infonnelion attached to this fcrm.)

Tit|e Vl|, the Americans with Disabilities Act, andfor the Age Discrimination in Emp|oyment Act: This will be the only
notice pf dismissal and of your right to sue that we will send you. You may file a lawsuit against the respondent(s) under
federal law based on this charge in federal or state court. Your lawsuit must be filed WlTHlN 90 DAYS of your receipt
of this notice; or your right to sue based on this charge will be losl. (The time limit for filing suit based on a state claim may

be different.}

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment This means that back pay due for any violations that occurred more than 2 years 13 years)
before you file suit may not be collectible.

On behalf the Commissip,n
/Wbl/~/p 5L MM(AW F»rt MAR 072007

Enclosures(s) James R_ Neeiy' Jr_, U (Date Mailedl
Director '
cc: CITY OF W|CHlTA!W|CHlTA POLlCE DEPT

455 N. Main
Wichita, KS 67202

 

 

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Enc|osu.~z with EEOC

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UNoER THE LAws ENFoRch BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal iaw.
if you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described beiow.)

Title V|I of the Civil Rights Act, the Americans with Disabilities Act (ADA),

PRNATE SU|T RIGHTS or the Age Discrimination in Employment Act (ADEA}:
ln order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be losl. lf you intend to
consult an attorney. you should do so promptiy. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received lt. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usualiy, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Flling this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the chargel Generally. suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. lf_ you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRlvATE SuiT Rioi-irs - Equal Pay Act (EPA):
EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment back

pay due for violations that occurred more than 2 years f3 yearsl before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 771/00 to 12/1/00, you should file suit

before 7/1/02 - not 12i1102 -- in order to recover unpaid wages due for July 2000. This time limit for filing an EPA

suit is separate from the 90»day filing period under Title V|l, the ADA or the ADEA referred to above. Therefor'el if
you also plan to sue under Title V|l, the ADA or the ADEA, in addition to suing on the EPA claim, suit must be filed
within 90 days of this Notice gn_g within the 2- or 3-year EPA back pay recovery period.

ATroRNEY REPRESENTATloN -- Tltle Vll and the ADA:

lf you cannot afford or have been unable to obtain a lawyer to represent youl the U.S. District Court having jurisdiction
in your case may, in limited circumstances assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attomey). Requests should be made well before the end of the 90~day period mentioned above,
because such requests do ggt relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASS|STANCE -- All Sfafutesf

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights. including advice on which U.S. District Court can hear your case. lf you need to
inspect or obtain a copy of information in EEOC‘s file on the charge, please request il promptly in writing and provide
your charge number (as shown on your Notice). Whlie EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice, (Before filing suit, any request should be

made within the next 90 days.)

fF YOU FlLE SUfT, PLEASE SEND A COPY OF YOUR COURT COMPLA!NT TO THIS OFFICE.

 

 

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* . CHARGE OF D|SCR|M|NAT|ON Charge Presented To: Agency(ies) Charge No(s):

This form is affected by the Privacy Act of19?4, See enclosed Pn'vacy Act m FEPA
Statement and other information before completing this form
[:| EEOC 563-2007-00743

 

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Kansas Human Rights Commission and EEOC
State or local Agency, it’ any

 

 

Home F'hone (inci. Area Code,i Date of Birlh

(913) 339-6144 _ __ 7-1958

Name (indicate Mr,. Ms, Mrs.,l

Mr. Mitche|| L. Woods
Street Address

11760 w. 11sth Terr., overland Park, Ks 66210 tri- 'm

Named is the Emp|oyer, Labor Organization, Emp|oyment Agency. Apprenticeship Committee
Discriminated Against Me or Others. {lf more than two, list under PARTiCULARS below.)

 

 

 

City. State and ZlF' C e

, or State or Local Government Agency That l Believe

 

 

 

 

 

Name No. En'pioyees. Merrbers Phone No. {tnciude Area Coo'e)
ClTY OF WiCH|TA/WlCHITA POLlCE DEPT - 500 or More (316) 268-4531
Street Address City, State and Z|l:l Coda

455 N. Main, Wichita, KS 67202

Name No. Enr'oluyees. Members Phone i'lo, (inciude Area Code)

 

 

 

Street Address Cityl State and ZlP Code

 

DlSCR|MlNAT|ON BASED ON (Check appropriate box(es).) DATE(S) DlSCR|M|NATION TOOK PLACE
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THE PART|CULARS ARE (lf additional paper is needed, attach extra sheet(s)).'
_i w s employed with the above employer from Juiy 10, 1990 until September 13, 2005. | was a police officer for

years and was injured on the job in 2003. | was on light duty for 2‘/2 years and then was wrongfully

terminated from ` b while under the doctors’ care.
)\{ qua GM:MM WO

On August»‘l'O: 20 l verbally reapplied | was later told l would have to take all the new hire exams if | wanted
to get hired. (:|zz

| believe i was not hired because of my disability, in violation of Americans with Disabi|ities Act of 1990 as
amendedl l also believe | was not hired because of my age in violation of Age Discrimination in Emp|oyment
Act of 1967 as amended l also believe l was not hired because of retaliation in violation o_,f--_Ti_tle V|i of the Civil

Rights Act of 1964 as amended

 

 

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will advise the agencies if | change my address or phone number and l will cooperate

 

fully with them in the processing of my charge in accordance with their procedures
| swear or affirm that l have read the above charge and that it is true to

| declare under penalty of perjury that the above is true and correct. the best of my knowledge information and belief.

SlGNATURE OF COMPLA|NANT

 

SUBSCR!BED AND SWORN 'l“O BEFORE ME THfS DATE

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Date Charging Party Signalure

 

 

 

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Cy-togenetics laboratory

 

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(303) 270-7249

Anaiysis No.:

Date Received:

PATIENT: wooda, Mttchaii
Data of Btrth: __ /SB

Refarrtng Physician: Dr. Lynn Abrams

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Faciitty: Fttzstmons Anmy Madtcai Center SH
Specimen: Periphenai biood

Type et Cuiture: TEhr, PHA stimuiated

KARYOTYPE SUMMARY: ATJXXY mai@ kanyotype.

10935
12/05/89

INTERPRETATION: Aii metaphasea examined had an additionai X chromosoma.

Mataphases Counted: 20

Metaphasee Anaiyzed: 5

Mataphaees Kanyotypad: 2 1
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Date/Ttme Finai epont Reieased

Exlsir__l_

Dr. S. Tunneii, FAMC Labonatony

The University of Colorudo is an equal opportunity l ojirmarive action employer `L Of_____________

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Case 2:O7-cv-O2239-.]WL Document 1

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__ payment of Pediatrics. Box C233
niversity of Coior'ado Heaith Sciences Center

Denver, Coiorado

 

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Lab numbers 10935
Woods,
' Mttcheii

Date necetved: 12/05/89

 

 

 

 

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EXIBIT

 

